Case o-25-f/slol-reg Vocl Filed Vo/2Z4iz5 Entered Vo/24/2s5 10 s2ics

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CLERK
United States Bankruptcy Court for the: a 2 ren : ene COU
LAGE RG th
Eastern istrict or New York NEW YORK
(State)
Case number (if known): Chapter 7 re on 1 CL} Check if this is an

amended filing

Official Form 201
Voluntary Petition for Non-individuals Filing for Bankruptcy 04/6

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor’s name Maxim RE LLC i i i c (x)
——

2. All other names debtor used Maxi [NAALOS TICs ALE a _

in the last 8 years

Include any assumed names,
trade names. and doing business
as names

3. Debtor's federal Employer _82-06241 14

Identification Number (EIN) 9 7 TT

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business

33 South Monigomery Street

Number Street Number Street

PO. Box

Valley Stream, NY 11580
City State ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business
NASSAU

County

Number Street

City State ZIP Coda

5. Debtor’s website (URL)

Weorporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
Q) Partnership (excluding LLP)
L} Other. Specify:

6. Type of debtor

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1

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Debtor

Maxim RE LLC dba Maxim Diagnostics LLC

Case number (i known).

Name

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

if more than 2 cases, attach a
separate list.

410. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. !f more than 1,
attach a separate list.

Official Form 201

A. Check one:

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CL) Railroad (as defined in 11 U.S.C. § 101(44))

C Stockbroker {as defined in 11 U.S.C. § 101(53A))

QO Commodity Broker (as defined in 11 U.S.C. § 101(6))

(J Clearing Bank (as defined in 11 U.S.C. § 781(3))

C} None of the above

B. Check aif that apply:

QQ Tax-exempt entity (as described in 26 U.S.C. § 501)

CI investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

O) investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See

htt

/aww.uscourts.gov/four-digit-national-association-naics-codes .

Check one:

WA chapter 7

L} Chapter 9
C) Chapter 11. Check ail that apply.

Q Chapter 12

ro

Uf ves. District EDNY When 01/27/2023

Wo

Cl] Yes.

District

Debtor

District

Case number, if known

CJ Debtor's aggregate noncontingent liquidated debts (exciuding debts owed to
insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that).

LJ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

LA plan is being filed with this petition.

QQ) Acceptances of the pian were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

LJ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

CJ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

8-23-70317-reg

Case number

MM/ DD/YYYY

When Case number
MM/ DD/YYYY

Relationship

When

MM / DD /YYYY

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2

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Debtor Maxim RE LLC dba Maxim Diagnostics LLC Case number (if known)

Name

11. Why is the case filed in this Check all that apply:

district? ; a : zo ree 5 a.
Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

ChA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district

42. Does the debtor own or have Wro
possession of any real
property or personal property /
that needs immediate Why does the property need immediate attention? (Check aif that apply.)
attention?

CJ Yes. Answer below for each property that needs immediate attention. Attach additional sheeis if needed.

CD it poses or is alleged io pose a threat of imminent and identifiable hazard to public health or safety

What is the hazard? a

L] It needs to be physically secured or protected from the weather.

C) it inciudes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy. produce, or securities-related
assets or other options).

L} Other

Where is the property?

Number Street

City State ZIP Code

v. property insured?
i No

CJ Yes. insurance agency

Contact name

Phone
Sag! Statistical and administrative information
13. Debtor’s estimation of Check one:
available funds U Funds will be available for distribution to unsecured creditors.
After any administrative expenses are paid, no funds will be availabie for distribution to unsecured creditors
=F W 49 C} 1,000-5,000 C) 25,001-50,000
14. number of Q) 50-99 © 5,001-10,000 Q) 50,001-100,000
pica’? OQ 100-199 @ 10,001-25,000 O) More than 100,000
L) 200-999
C1.$0-$50,000 C) $1,000,001-$10 million C] $500,000,001-$1 biltion
15. Estimated assets $50,001-$100,000 C8) $10,000,001-$50 million C) $1,000,000,001-$10 billion
L) $100,001-$500,000 LI $50,000,001-$100 million CJ $10,000,000,001-$50 billion
() $500,001-$1 million C3 $100,000,001-$500 million CJ More than $50 billion

Official Form 201 Voluntary Petition for Non-individuails Filing for Bankruptcy — page 3
Case o-25-f/slol-reg Vocl Filed Vo/2Z4izo Entered Vo/24/2s5 10 s2i2s

Debtor Maxim RE LLC dba Maxim Diagnostics LLC GaSiunbeacmeas —
Name
oe {pe se0iono L3 $1,000,004-$10 million CJ $500,000,001-$1 billion
16. Estimated liabilities $50,001-$100,000 C) $10,000,001-$50 million CL) $1,000,000,001-$10 billion
(J $100,001-$500,000 CL] $50,000,001-$100 million LJ $10,000,000,001-$50 bittion
U $500,001-$1 million LJ $100,000,001-$500 million (J More than $50 billion

tien Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of = The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of

debtor petition.

= | have been authorized to file this petition on behalf of the debtor.

m | have examined the informaiion in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.
Executed on _ 8/24/2023

MM /DD/YYYY fy J l.

« LLVIZ A a Me aA Vo 4 anual
Signature of authorized rep ntative of debtor Printed name
Title President

18. Signature of attorney x eats

Signature of attorney for debtor MM /DD /YYYY

Printed name

Firm name

Number Street
City State ZIP Code

Contact phone Email address

Bar number State

Official Form 201 Voluntary Petition for Non-Individuais Filing for Bankruptcy page 4

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
www.nyeb.uscourts.gov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): Maxim RE LLC dba Maxim Diagnostics LLC CASE NO.:

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure

concerning Related Cases, to the petitioner’s best knowledge, information and belief:

{NOTE: Cases shall be deemed “Related Cases” for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same;
(ii) are spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership;
(v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more common general
partners; or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that

was or is included in the property of another estate under 11 U.S.C. § 541(a).]
[__]NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
lv |THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.:.8-23-70317-reg JUDGE: Robert E. Grossman DISTRICT/DIVISION: EDNY

CASE STILL PENDING (Y/N):.N [Uf closed Date of closing: 7/12/2023

CURRENT STATUS OF RELATED CASE: Dismissed

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED IN

SCHEDULE “A” OF RELATED CASE:

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE STILL PENDING (Y/N): N [Jf closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

VIANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED

IN SCHEDULE “A” OF RELATED CASE:

(OVER)
Case o-25-f/slol-reg Vocl Filed Vo/Z4iz5 Entered Vo/24/2s5 10 s2ic5

DISCLOSURE OF RELATED CASES (cont’d)

3. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):_N [Jf closed] Date of closing:

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED
IN SCHEDULE “A” OF RELATED CASE:

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

1 am admitted to practice in the Eastern District of New York (Y/N): N

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any

time, except as indicated elsewhere on this form.

Signature of Debtor's Attorney Signature of Pro Se Debtor/Petitioner

33 South Montgomery Street
Mailing Address of Debtor/Petitioner

Valley Stream, NY 11580
City, State, Zip Code

Email Address

3479921888
Area Code and Telephone Number

Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment
of a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result.

USBC - 17 Rey 09/15/11

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: Maxim RE LLC

dba Maxim Diagnostics LLC

Debtor(s)
x

AFFIRMATION OF FILER(S)

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
information:

Name of Filer: Koc mocA V On le wW -

Address: 33 South Montgomery Street Valley Stream, NY 11580

Email Address:

3479921888

Phone Number:

Name of Debtor(s); Maxim RE LLC dba Maxim Diagnostics LLC

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

lv] I PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING: As president | filed the bankruptcymon behalf of my LLC

Ll I DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

LJ I WAS PAID.

Amount Paid: $ 0

I/We hereby affirm the information above under the penalty of perjury.

Dated: 8/24/2023 LAV LAK

Filer’s Si gnature .

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Maxim RE LLC dba Maxim Diagnostics LLC

Debtor Name

| United States Bankruptcy Court for the: _ Eastern District of NY

| (State)

| Case number (/f known):

Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors 1245

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3577.

oa Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Cl] schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

wf Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule

Chapter 17 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

Oo ocodgo

Other document that requires a declaration

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 8/24/2023 x oF Viz i

MM/DD/YYYY Signature of individual sighing on behalf of debtor

Rawat Vow Wc

Printed name

President
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

Case o-25-f/slol-reg Vocl Filed Vo/2Z4iz5 Entered Vo/24/25 10 s2ics

Ball Pb teenicoel ttt hts rs FeQa 1) Vis Ont Mer= tote

Debtor name Maxim RE LLC dba Maxim Diagnostics LLC

United States Bankruptcy Court for the; Eastern

District of _NY

Case number (If known):

(State)

|
_

Official Form 206D

LI Check if this is an

amended filing

Schedule D: Creditors Who Have Claims Secured by Property

12/5

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor’s property?
LI,No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form

Yes. Fill in all of the information below.

tae List Creditors Who Have Secured Claims

2. List in alphabetical order all creditors who have secured claims. !f a creditor has more than one
secured claim, list the creditor separately for each claim.

Fz] Creditors name

HORN, STEVEN C. c/o HILL WALLACK, LLP

Creditor’s mailing address
25 W 39TH ST FL 8

Describe debtor’s property that is subject to a lien

Residential

NEW YORK, NY 10018-4073

Creditor’s email address, if known

Date debt was incurred _4/2018
Last 4 digits of account

number _ 6623
Do multiple creditors have an interest in the
same property?

No

CJ Yes. Specify each creditor, including this creditor,

and its relative priority.

BA Creditor’s name

Creditor’s mailing address

Describe the lien
1st Mortgage

Is fhe creditor an insider or related party?
No

O Yes

Is anyone else liable on this claim?
No

C) Yes. Fill out Schedule H: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check all that apply.
Contingent

(2 Unliquidated
L) Disputed

Column A Column B
Amount of claim
Do not deduct the value

of collateral. claim

$$312.976 sg $230,000

~ Describe debtor's property that is subject to a lien

Value of collateral
that supports this

Creditor’s email address, if known

Date debt was incurred

Last 4 digits of account
number

Do multiple creditors have an interest in the
same property?
Q No
C) Yes. Have you already specified the relative
priority?
OC) No. Specify each creditor, including this
creditor, and its relative priority.

UL) Yes. The relative priority of creditors is
specified on lines

Describe the lien

Is the creditor an insider or related party?

L} No
C} Yes

Is anyone else liable on this claim?

QL] No

Cl Yes. Fill out Schedule H: Codebtors (Official Form 206H).

As of the petition filing date, the claim is:
Check all that apply.

QO Contingent
Cl] Unliquidated
OQ Disputed

3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional

Page, if any.

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

$ $312,976

page 1 of

{

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In Re:

Maxim RE LLC dba Maxim Diagnostics Case No.
LLC

Chapter 7

Debtor(s)

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that
the creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

Dated: 8/24/2023

Debtor j [/

Joint Debtor

Attorney for Debtor

USBC-44 Rev. 3/17/05

Case o-25-/slol-reg VoCcl Filed Va/Z4izo

Steven C, Horn

c/o HILL WALLACK, LLP
261 Madison Avenue

9th Floor, Suite 940-941
New York, NY 10016

entered Vo/24/25 1052's

